EXHIBIT A
              IN THE 26TH JUDICIAL CIRCUIT COURT, CAMDEN COUNTY, MISSOURI

 Judge or Division:                                                 Case Number: 17CM-CC00093

 Plaintiff/Petitioner:                                              Plaintiff’s/Petitioner’s Attorney/Address
 LINDA SEATON                                                       JOSEPH CHANDLER GREGG
                                                                    901 E BATTLEFIELD
                                                              vs.   SPRINGFIELD, MO 65807
 Defendant/Respondent:                                              Court Address:
 MODINE MANUFACTURING COMPANY                                       CAMDEN COUNTY COURTHOUSE
 Nature of Suit:                                                    1 COURT CIRCLE, STE 8
 CC Wrongful Death                                                  CAMDENTON, MO 65020
                                                                                                                                      (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: MODINE MANUFACTURING COMPANY
                                      Alias:
  RA - CSC LAWYERS INC SERVICE
  221 BOLIVAR STREET
  JEFFERSON CITY, MO 65101

        COURT SEAL OF                        You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                       which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                       above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                       file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                                5/2/17                                          /S/ TRICIA MCCOLLUM
                                        _______________________________                 _______________________________________________________
                                                     Date                                                        Clerk
       CAMDEN COUNTY                   Further Information:

                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                       _____________________________________________
                     Printed Name of Sheriff or Server                                                    Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________              _____________________________________________
                                                                              Date                                     Notary Public
     Sheriff’s Fees
     Summons                      $
     Non Est                      $
     Sheriff’s Deputy Salary
     Supplemental Surcharge       $    10.00
     Mileage                      $                    (______ miles @ $.______ per mile)
     Total                        $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-08) SM30 (SMCC) For Court Use Only: Document Id # 17-SMCC-476                    1 of 1                  Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                         54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
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